      Case 1:25-cv-00596-ELH          Document 100-1         Filed 04/03/25     Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
                v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



                     CERTIFICATION OF ADMINISTRATIVE RECORD

       I, Leland Dudek, am Acting Commissioner at the Social Security Administration (SSA). I

am familiar with the claims asserted against SSA in the above-captioned action regarding the

granting of access to systems maintained by the agency to employees implementing Executive

Order 14,158.

       I hereby certify, to the best of my knowledge, that the accompanying administrative record

is complete and contains all non-deliberative documents and materials directly or indirectly

considered regarding the SSA actions challenged in this case.1




       1
         Notwithstanding the Court’s order to file an administrative record in this case, Defendants
maintain that the Amended Complaint does not challenge any final agency action and reserve their
right to argue in further proceedings in this case, including in any subsequent appeal, that the
Administrative Procedure Act does not provide for review.
      Case 1:25-cv-00596-ELH          Document 100-1        Filed 04/03/25      Page 2 of 2



       In accordance with 28 U.S.C. § 1746, I hereby certify and declare under penalty of perjury

that the foregoing is true and correct to the best of my knowledge, information, and belief.



                                                     /s/ Leland Dudek
                                                       Leland Dudek




                                                 2
